       Case 9:16-cr-00045-DWM Document 48 Filed 03/30/17 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
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                          MISSOULA DIVISION                                MAR 3 0 2011
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 UNITED STATES OF AMERICA,                         CR 16-45-M-DWM-02

                    Plaintiff,

       vs.                                                  ORDER

 RANDY JOE CLOUGH, JR.,

                    Defendant.


      The United States seeks to dismiss without prejudice the indictment in this

case as to Defendant Randy Joe Clough, Jr. (Doc. 47.) The United States explains

dismissal will allow re-evaluation of the continuing federal interest in the

prosecution of Randy Clough, and of the nature and quality of the evidence. The

motion is unopposed.

      Accordingly, IT IS ORDERED that the motion is GRANTED. The

indictment as to Randy Joe Clough, Jr. is DISMISSED WITHOUT PREJUDICE.

Fed. R. Crim. P. 48(a).

      DATED this    JiJ~day of March, 2017.
